     Case 23-30771-sgj7                          Doc 6 Filed 04/23/23 Entered 04/23/23 23:17:23                                         Desc Imaged
                                                      Certificate of Notice Page 1 of 5
Information to identify the case:

Debtor 1:
                      Carl Gerard Dorvil                                         Social Security number or ITIN:   xxx−xx−7255
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Northern District of Texas                Date case filed for chapter:        7     4/20/23

Case number:           23−30771−sgj7

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Carl Gerard Dorvil

2.        All other names used in the
          last 8 years

3.      Address                                  1114 Newcastle Dr.
                                                 Rockwall, TX 75032

4.      Debtor's attorney                        Guy H. Holman                                        Contact Phone: 972−325−2900
                                                 Guy Harvey Holman, PLLC
        Name and address                         8330 Lyndon B Johnson Fwy                            Email: gholman@debtreset.net
                                                 Suite B646
                                                 Dallas, TX 75243

5.      Bankruptcy trustee                       Jeffrey H. Mims                                      Contact Phone: (214) 210−2913
                                                 Jeffrey H. Mims, Trustee
        Name and address                         Founders Square, Suite 560                           Email: jeffm@chfirm.com
                                                 900 Jackson Street
                                                 Dallas, TX 75202
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
    Case 23-30771-sgj7                           Doc 6 Filed 04/23/23 Entered 04/23/23 23:17:23                                                     Desc Imaged
                                                      Certificate of Notice Page 2 of 5
Debtor Carl Gerard Dorvil                                                                                             Case number 23−30771−sgj7


6. Bankruptcy clerk's office                    1100 Commerce Street                                       Hours open:
                                                Room 1254                                                  Mon.−Fri 8:30−4:30
    Documents in this case may be filed at this Dallas, TX 75242
    address. You may inspect all records filed                                                             Contact Phone: 214−753−2000
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                           Date: 4/20/23

7. Meeting of creditors                           May 16, 2023 at 11:20 AM                                 Trustee: Jeffrey H. Mims
                                                                                                           Toll free number: 877−952−7318
    Debtors must attend the meeting to be         BY TELEPHONE
    questioned under oath. In a joint case,                                                                Alternate number: 517−233−6508
    both spouses must attend. Creditors may                                                                Participant Code: 3328409
    attend, but are not required to do so.        The meeting may be continued or adjourned
                                                  to a later date. If so, the date will be on the
                                                  court docket.
    Debtor attorneys will be responsible for verifying both the debtors' photo ID and the debtors' social security number on the record. If you
    are a pro se debtor who appears by telephone, the trustee may require that you appear at a continued meeting in order to present your
    proof of identification and social security number and to affirm that you were the one who testified at the telephonic meeting.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge                 Filing deadline: 7/17/23
                                               or to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                        Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as      conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize
                                                  an exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                              page 2
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                                         Certificate of Notice Page 3 of 5
        INFORMATION FOR THE TELEPHONIC § 341 MEETING OF CREDITORS


Because of developing issues with the COVID−19 virus and the national declaration of emergency by the President
of the United States, § 341 Meetings of Creditors (?Meetings?) will be conducted telephonically. The telephone call
in numbers and participant code are found on the enclosed Notice.



Additional Dial−In Information:

(1) You must use a touch−tone phone to participate.

(2) Landline preferred. If you have a choice, use a landline phone, instead of a cell phone. Do not use a speaker
phone.

(3) Dial the call−in number and then enter the participant code, which consists of 7 numbers and is followed by a #
sign. Immediately place your phone on mute.

(4) Make the call from a quiet area where there is as little background noise as possible.

(5) As more than one Meeting will be held during this period, listen for your case to be called. When your case is
called, unmute your phone and identify yourself.

(6) When speaking during your case, identify yourself.

(7) Do not put the phone on hold at any time after the call is connected.

(8) If any party is attending the Meeting from the same location as another party, use separate touch−tone phones to
participate.

(9) Once the case Meeting is finished, hang up.

(10) If you become disconnected before your Meeting is finished, call back.


Bankruptcy Documents:

Debtors should have their bankruptcy documents available in the event there are questions about the information in
the documents.
Recording: The Meetings will be recorded by the trustee or United States Trustee.
        Case 23-30771-sgj7                   Doc 6 Filed 04/23/23 Entered 04/23/23 23:17:23                                             Desc Imaged
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                                                               United States Bankruptcy Court
                                                                 Northern District of Texas
In re:                                                                                                                 Case No. 23-30771-sgj
Carl Gerard Dorvil                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Apr 21, 2023                                               Form ID: 309A                                                             Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 23, 2023:
Recip ID                 Recipient Name and Address
db                     + Carl Gerard Dorvil, 1114 Newcastle Dr., Rockwall, TX 75032-7481
tr                     + Jeffrey H. Mims, Jeffrey H. Mims, Trustee, Founders Square, Suite 560, 900 Jackson Street, Dallas, TX 75202-4404
20127519               + Ariel Bouskila Esq, 5 Hanover Square Ste 2102, New York, NY 10004-2635
20127521               + Benchmark Title, 2007 Randle Street, Dallas, TX 75201-1500
20127522               + C6 Capital, 351 E 84th ST Suite #27E New York NY, New York, NY 10028-4458
20127523               + Calvary Fund I, LP, c/o Fox Rothschild LP, LP 101 Park Ave, 17th FL, New York, NY 10178-1700
20127524               + Charles and Kathleen Mason, 5 Wagener Place, Hilton Head Island, SC 29928-3909
20127525               + Compass Bank, c/o John M Kuykendall, 15601 Dallas Parkway STE 900, Addison, TX 75001-6098
20127529               + Hop Capital, c/o Ariel Bouskila; Berkovitch & Bouskil, 5 Hanover Square Ste 2102, New York, NY 10004-2635
20127532               + Jeffrey Fleischmann, 150 Broadway STE 900, New York, NY 10038-4348
20127533               + Kings Cash Group, 40 Exchange Place STE 1306, New York, NY 10005-2743
20127534               + Kings Cash Group, 30 Broad Street, Suite 1201, New York, NY 10004-2304
20127536                 North Texas Capital Partner, c/o Carlos R Cortez, 1280 N Central Expy STE 360, Dallas, TX 75243
20127537               + Payroll Express, 1871 Martin Ave, Santa Clara, CA 95050-2501
20127538                 Texans Cu, Richardson, TX 75081

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: gholman@debtreset.net
                                                                                        Apr 21 2023 21:06:00      Guy H. Holman, Guy Harvey Holman, PLLC,
                                                                                                                  8330 Lyndon B Johnson Fwy, Suite B646, Dallas,
                                                                                                                  TX 75243
20127520               + Email/Text: bcd@oag.texas.gov
                                                                                        Apr 21 2023 21:07:00      Attorney General of Texas, Bankruptcy Division,
                                                                                                                  P.O. Box 12548, Austin, TX 78711-2548
20127530                   EDI: IRS.COM
                                                                                        Apr 22 2023 01:03:00      Internal Revenue Service, Centralized Insolvency
                                                                                                                  Operations, P.O.Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
20127535               + Email/Text: dallas.bankruptcy@LGBS.com
                                                                                        Apr 21 2023 21:07:00      Linebarger, Goggan Blain & Sampson, 2777 N.
                                                                                                                  Stemmons Fwy, Suite 100, Dallas, TX 75207-2502
20127539                   Email/Text: pacer@cpa.state.tx.us
                                                                                        Apr 21 2023 21:07:00      Texas Comptroller of Public Accounts, Revenue
                                                                                                                  Accting Div,-Banker Section, P.O. Box 13528,
                                                                                                                  Austin, TX 78711-3528
20127540                   Email/Text: collections.pacer@twc.texas.gov
                                                                                        Apr 21 2023 21:07:00      Texas Workforce Commission, 101 E. 15th St.,
                                                                                                                  Austin, TX 78778-0001
20127541               ^ MEBN
                                                                                        Apr 21 2023 21:05:12      US Attorney General, Dept of Justice/Main Justice
                                                                                                                  Bldg, 10th & Constitution Ave NW, Washington,
                                                                                                                  DC 20530-0001
20127542               + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Apr 21 2023 21:07:00      US Trustee Office, 1100 Commerce St., Room
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                                                Certificate of Notice Page 5 of 5
District/off: 0539-3                                               User: admin                                                             Page 2 of 2
Date Rcvd: Apr 21, 2023                                            Form ID: 309A                                                         Total Noticed: 23
                                                                                                            976, Dallas, TX 75242-0996

TOTAL: 8


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason    Name and Address
20127531        *+               Internal Revenue Service, Mail Code DAL - 5020, 1100 Commerce St., Dallas, TX 75242-1100
20127526        ##+              Complete Business Solutions Group, Inc.Court-, 22 N 3rd Street, Philadelphia, PA 19106-2113
20127527        ##+              EIN Capital, 160 Pearl st FL 5 New York, NY 10005, New York, NY 10005-1631
20127528        ##+              EMA Financial, 40 Wall Street, New York, NY 10005-1366

TOTAL: 0 Undeliverable, 1 Duplicate, 3 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 23, 2023                                        Signature:           /s/Gustava Winters
